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                           EXHIBIT I
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                                       Psychological Assessment

The La Verne Police Department has closely evaluated the need for the psychological assessment requirement
during the CCW application process. Through discussions with our City Attorney and our police department
psychologist, as well as review of empirical based studies and review of other peer department CCW programs,
the Chief of Police has made the decision to require a psychological assessment for all La Verne PD CCW licenses.

Using a Frequently Asked Questions (FAQ) format, the department has developed some reasoning and information
behind the need for a psychological assessment:

What psychological assessment tool does La Verne PD use?
The test we use in our psychological evaluations is the Minnesota Multiphasic Personality Inventory (MMPI), which
was developed in the 1920s and has been updated regularly over the years. It is an evidence-based measure and
is considered one of the most well-researched, valid, and reliable psychological tests in the country. It is used by
mental health professionals to assess and diagnose mental illnesses such as depression, anxiety, and anti-social or
psychopathic behaviors. It is also what law enforcement officers are given when entering this profession. It is one
of the most researched psychological tests in existence and there are more than 10,000 peer-reviewed published
research papers on the MMPI.

What psychological assessment vendor does La Verne PD use?
We have a contract with The Counseling Team (TCT). They are a trusted vendor for the police department and are
used by many other police departments in Los Angeles County. In addition to using the MMPI, TCT also asks
questions during their evaluation to assess for “behaviors of concern”, including mental health issues, drug/alcohol
abuse, impulsivity, sleep problems, anger management, employment history, and interpersonal difficulties. Their
detailed assessment is very important for the police chief as it assists with making an informed decision when
issuing a CCW permit.

Isn't the psychological assessment more of a personality test?
Our assessment looks at both the pathology of mental illness, depression and anxiety for example, as well as how
someone interacts with the world around them. Labeling the MMPI as a personality test is simplifying a very
detailed and proven scientific tool. There is no perfect test and there is no way to predict all behavior. However,
the process La Verne PD uses gives a better overall picture of the applicant and assists the police chief with
making an informed decision regarding our CCW applicants.

What legal authority does the La Verne Police Chief have to require a psychological evaluation?
California Penal Code 26190(f) essentially states: If psychological assessment is required by the licensing authority
(Police Chief), the applicant shall be referred to a licensed psychologist that is the same used for testing of its
own employees. The applicant can be charged for the cost of psychological testing not to exceed $150.

Does La Verne PD have a policy on the CCW program?
Yes – it is posted on our website.

What feedback do we get from our City of La Verne residents?
Many of our La Verne residents/applicants state that they are pleased we require a psychological assessment.
They are supporters of the 2nd amendment but want a thorough process that includes a psychological
assessment.

Can a La Verne resident get a CCW elsewhere?
La Verne PD respects the opinion of some individuals who believe that psychological assessments should not be
required for a CCW. The law is specific (CA PC 26155 (a)(3)), where residents are directed to apply for a CCW
with the municipality where they reside. La Verne residents who have strong opinions of the psychological
assessment are directed to consider applying with the County of Los Angeles.
